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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ODILLIA MUTAKA MWANI, et al.

                    Plaintiffs,

 v.                                                          Case No. 99-cv-125 (GMH)

 AL QAEDA,

                   Defendant.


                                             ORDER

       In March 2017, the Court granted Plaintiffs’ motion pursuant to 28 U.S.C. § 1963 to reg-

ister in other federal district courts two documents labelled as judgments issued in the Fall of 2014

(ECF Nos. 122, 129) that resolved most, but not all, of the claims in this case (the “March 2017

Order”). See ECF Nos. 130, 132. Later, in analyzing the issues raised in three motions more

recently filed by Plaintiffs, the Court became aware that the March 2017 Order may have been

erroneous because the relevant judgments were not certified as final pursuant to Rule 54 of the

Federal Rules of Civil Procedure and are therefore not enforceable. Consequently, the Court is-

sued an Order to Show Cause why the March 2017 Order should not be vacated. ECF No. 147.

       In response, Plaintiffs mount an argument that there is “a reasoned reading” of 28 U.S.C.

§ 1963 that allows registration of unenforceable judgments in other districts. ECF No. 148 at 5.

For the reasons discussed in the Order to Show Cause, the Court disagrees that Plaintiffs’ proposed

reading is reasonable. See ECF No. 147 at 2–4. In any case, Plaintiffs also concede that, if the

Court vacates the March 2017 Order, they will suffer no prejudice because they have “neither

sought to register any judgments in other districts[,] nor were any judgments in fact registered in

other districts.” ECF No. 148 at 1 n.1.
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        Accordingly, it is hereby

        ORDERED that for the reasons noted herein and discussed in the Court’s Order to Show

Cause of December 7, 2021 (ECF No. 147), the Court’s Order dated March 6, 2017, allowing

Plaintiffs to register the relevant judgments 1 in other districts pursuant to 28 U.S.C. § 1963 (ECF

No. 132) is VACATED.



        SO ORDERED.                                                        Digitally signed by
                                                                           G. Michael Harvey
                                                                           Date: 2021.12.22
Date: December 22, 2021                                    _______________________________
                                                                           11:35:45 -05'00'
                                                           G. Michael Harvey
                                                           United States Magistrate Judge




1
 As noted, those documents are found on the docket in this case at ECF No. 122 (entered Sept. 25, 2014) and ECF
No. 129 (entered Nov. 18, 2014).


                                                      2
